                          Case 3:21-cr-30031-MGM
2-6   5HYLVHG86'&0$             Document 1-1 Filed 05/04/21 Page 1 of 2
Criminal Case Cover Sheet                                                             U.S. District Court - District of Massachusetts

Place of Offense:                        Category No.        II                      Investigating Agency                 Secret Service

City      N.D. Ohio (venue waiver)                Related Case Information:

County       N.D. Ohio (venue waiver)              6XSHUVHGLQJ,QG,QI   --                &DVH1R
                                                   6DPH'HIHQGDQW      --                1HZ'HIHQGDQW --
                                                   0DJLVWUDWH-XGJH&DVH1XPEHU       --
                                                   6HDUFK:DUUDQW&DVH1XPEHU      --
                                                   55IURP'LVWULFWRI   --

Defendant Information:

'HIHQGDQW1DPH         Herbert Wright III                                      -XYHQLOH                       G <HV G
                                                                                                                      ✔ 1R

                                                                                                                   ✔
                       ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDUG<HVG1R
$OLDV1DPH
$GGUHVV                 &LW\ 6WDWH Chicago, IL
                      1995
%LUWKGDWH <URQO\ BBBBB661          6480
                                  ODVW BBBBBBBB     <
                                                   6H[BBBBB                    Black
                                                                         5DFHBBBBBBBBBBB                           USA
                                                                                                       1DWLRQDOLW\BBBBBBBBBBBBBBBBBBBB

Defense Counsel if known:                James Lawson                                $GGUHVV Prince Lobel

Bar Number                                                                                     One International Place, Suite 3700
                                                                                               Boston, MA 02110
U.S. Attorney Information:

AUSA         Steven H. Breslow                                        %DU1XPEHULIDSSOLFDEOH

Interpreter:            G <HV         ✔ 1R
                                      G                     /LVWODQJXDJHDQGRUGLDOHFW

Victims:               ✔
                       G<HVG1R ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                         G <HV      ✔ 1R
                                                                                                                                      

Matter to be SEALED:                  G <HV        G✔   1R

          G:DUUDQW5HTXHVWHG                      ✔
                                                     G5HJXODU3URFHVV                        G,Q&XVWRG\

Location Status:

Arrest Date

G $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                     LQ                                                  
G $OUHDG\LQ6WDWH&XVWRG\DW                                      G6HUYLQJ6HQWHQFH             G$ZDLWLQJ7ULDO
G 2Q3UHWULDO5HOHDVH        2UGHUHGE\                                            RQ

Charging Document:                    G&RPSODLQW              ✔
                                                                  G,QIRUPDWLRQ                      G,QGLFWPHQW
                                                                                                                               1
Total # of Counts:                    G3HWW\                 G0LVGHPHDQRU                      ✔
                                                                                                        G)HORQ\

                                            &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔
G         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.
                                                                                                Digitally signed by STEVEN
                                                                        STEVEN BRESLOW BRESLOW
'DWH     04/23/2021                         6LJQDWXUHRI$86$                           Date: 2021.04.23 11:21:44 -04'00'
                        Case 3:21-cr-30031-MGM Document 1-1 Filed 05/04/21 Page 2 of 2
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant                 Herbert Wright III

                                                                        U.S.C. Citations
                 Index Key/Code                                        Description of Offense Charged       Count Numbers

6HW     18 USC 1001(a)(2)                             False Statements to Federal Official            1


6HW


6HW


6HW


6HW


6HW


6HW


6HW


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6HW

ADDITIONAL INFORMATION:




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
